                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:14-00090-14
                                                       )       JUDGE CAMPBELL
ROBERT FOXX                                            )

                                               ORDER

       The sentencing hearing in this case is set for September 11, 2015, at 9:00 a.m. The Defendant

shall remain in Federal custody pending further order of the District Judge. The Defendant shall

attend all Court hearings in this case.

       All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least five (5) days before the sentencing hearing.

       In accordance with LCrR 32.01(c), at least seven (7) days prior to the sentencing date, the

parties shall file a “Position of the (Government or Defendant) with Respect to Sentencing Factors,”

containing only unresolved objections to the Presentence Report. If the parties have no objections

to the Presentence Report, they shall so indicate in their “Position” filed with the Court. The parties

shall also serve a copy of their “Position” on the Probation Office upon its filing.

       It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




 Case 3:14-cr-00090         Document 698        Filed 06/15/15        Page 1 of 1 PageID #: 2724
